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                       UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA

WILLIAM N. EARNSHAW and                    :
HELEN A. EARNSHAW,
                                           :

                       Plaintiffs          :    CIVIL ACTION NO. 3:19-1479

        v.                                 :        (JUDGE MANNION)

CHESAPEAKE APPALACHIA, LLC, :
and EQUINOR USA ONSHORE
PROPERTIES, INC., f/k/a Statoil :
USA Onshore Properties, Inc.,
                                :
              Defendants
                                :

                                      ORDER

        A Notice of Suggestion of Bankruptcy having been filed in the above-

captioned matter, IT IS HEREBY ORDERED THAT:

        (1) All proceedings in the above-captioned matter are STAYED

              pending resolution of the bankruptcy proceedings.

        (2) Counsel for Chesapeake Appalachia, LLC, is to notify the court

              immediately upon the resolution of the bankruptcy proceedings.



                                               s/ Malachy E. Mannion
                                               MALACHY E. MANNION
                                               United States District Judge
DATED: February 8, 2021
19-1479-03
